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Southern District of New York! ° ad il

The Jacob K. Javits Federal Ruilding: BOLE
26 Federal Plaza, 37th Floor" a
New York, New York 10278

November 1, 2024

The Honorable Lewis A. Kaplan
United States District Court
Southern District of New York
500 Pearl Street

New York, New York 10007

Re: United States vy. Samuel Bankman-Fried, 86 22 Cr. 673 (LAK)
Dear Judge Kaplan:

The Government writes to respectfully request that the Court extend the deadline for its
response to third-party ancillary petitions from the currently scheduled date of November 1, 2024
to January 15, 2025. The Government has been in discussions with the relevant parties in interest.
This extension will allow the parties more time to discuss and potentially facilitate a resolution of
the pending petitions instead of litigation. The Government has communicated with counsel for
Emergent Fidelity Technologies Ltd. (who filed their petition at Dkt. Nos. 446, 447), FTX Trading
Ltd. (Dkt. No. 450), and the MDL Plaintiff class (Dkt. No, 454), all of whom consent to the
extension of this deadline.

The Government also requests that the applicable deadline for third-party petitions for the
following parties be extended until January 15, 2025: Senate Majority PAC, FF PAC, FF USA
Action, Emily’s List/Women Vote (Women Vote!), and GMI PAC, The Government is continuing
to discuss with these parties the forfeitability of funds these entities received from the defendant
and his co-conspirators.

Respectfully,

DAMIAN WILLIAMS
United States Attorney

By:___/s Thane Rehn
Danielle R. Sassoon
Nicolas Roos
Danielle Kudla
Thane Rehn

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